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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                 CRIMINAL NO.: 18-27


                                                          SECTION: «G"


 BRAD MILLIGAN




                                       FACTUAL BASIS


       Defendant, BRAD MILLIGAN ("MILLIGAN"), has agreed to plead guilty pursuant to

a plea agreement with the Government to Counts 1 through 4 of the Bill of Information. Should

this matter have proceeded to trial, the United States of America would have proven beyond a

reasonable doubt, through the introduction of relevant, competent, and admissible testimony and

physical and demonstrative evidence, the following facts to support the allegations against the

defendant:


       In 2013, the Bureau of Alcohol, Tobacco, Firearms and Explosives (hereinafter referred to

as "ATF") began investigating the shipment of explosive precursor chemicals. During this

investigation, it was discovered that MILLIGAN was acquiring large quantities of precursor

chemicals, pyrotechnic tubes, fusing and relates materials, all indicative of an illegal explosive

device manufacturing operation. Between the years 2013 and 2015, ATF received information

that MILLIGAN was purchasing chemicals such as potassium perchlorate and aluminum powder

from internet based pyrotechnic and chemical suppliers. These chemicals are commonly used to

manufacture pyrotechnics, and to manufacture a substance known as flash powder. Flash powder

is an extremely powerful and sensitive explosive material. Based upon the quantity and frequency




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                                                                                 AUSA
                                                                              Defendant
                                                                        Defense Counsel bC
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